






















IN THE COURT OF CRIMINAL APPEALS
OF TEXAS



NO. WR-80,266-02




IN RE GERARDO GONZALEZ, Relator




ON APPLICATION FOR A WRIT OF MANDAMUS
CAUSE NOS. 1108256 &amp; 1108257 IN THE 183RD DISTRICT COURT
FROM HARRIS COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.

O R D E R

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator has filed a motion for leave to file an application for a writ of mandamus pursuant
to the original jurisdiction of this Court.  In it, he contends that he filed applications for a writ of
habeas corpus in the 183rd District Court of Harris County, that more than 35 days have elapsed, and
that the applications have not yet been forwarded to this Court.  Relator contends that the district
court entered orders designating issues on April 12, 2013.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Respondent, the Judge of the 183rd District Court of Harris County, shall file a response with
this Court by having the District Clerk submit the record on such habeas corpus applications.  In the
alternative, Respondent may resolve the issues set out in the orders designating issues and then have
the District Clerk submit the record on such applications.  In either case, Respondent’s answer shall
be submitted within 30 days of the date of this order.  This application for leave to file a writ of
mandamus will be held in abeyance until Respondent has submitted her response.
&nbsp;
Filed: April 2, 2014
Do not publish&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;


